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                              UNITED STATES DISTRICT COURT
                          FOR THE EASTERN    DISTRICT OF VIRGINIA
                                  ALEXANDRIA DIVISION


         UNITED STATES OF AMERICA                  Case No. I:19din50


              vs.                                  Alexandria, Virginia
                                                   October 10, 2019
         JOHN DOE 2010R03793,                      12:45 p.m.

                          Defendant.




                           TRANSCRIPT OF CONTEMPT HEARING
                       BEFORE THE HONORABLE ANTHONY J. TRENGA
                             UNITED STATES DISTRICT JUDGE


        APPEARANCES:


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                                       (Pages 1-14)

                COMPUTERIZED TRANSCRIPTION OF STENOGRAPHIC NOTES




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